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                         IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

        STATE OF MARYLAND, et al.,             *

                     Plaintiffs-Appellees,     *

                     v.                        *
                                                      Nos. 25-1248, 25-1338
        UNITED STATES DEPARTMENT *
        OF AGRICULTURE, et al.,
                                        *
                 Defendants-Appellants.
                                        *

        *      *     *      *        *   *     *      *      *    *       *    *     *

            APPELLEES’ EMERGENCY MOTION FOR ADMINISTRATIVE STAY

               Appellees (“the States”) move for an emergency administrative stay of this

        Court’s Order, Docket No. 42, dated today, April 9, 2025, pending resolution of the

        States’ forthcoming petition for rehearing en banc, to be filed no later than 5 p.m.

        Friday, April 11, 2025. Appellant Agencies oppose this motion.

               Rehearing en banc is appropriate because, among other reasons, this case

        concerns a matter of exceptional importance: whether 20 federal agencies injured 19

        States and the District of Columbia through the sudden and unlawful mass layoff of

        thousands of federal probationary employees without the 60-day advance notice

        required by federal law, and whether the Agencies should be permitted to resume

        their unlawful conduct while this case is pending. See Loc. R. 40(2)(D). The
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        question of whether the States have standing to seek redress is of vital importance

        and merits review by the full court.

                If the status quo is not preserved through an immediate administrative stay,

        the Agencies will likely terminate thousands of probationary employees once again

        while the en banc court considers the States’ petition. Allowing mass firings to go

        forward in this manner will cause chaos in, and significant injury to, the States.

        These unrecoverable costs and irreparable injuries include (1) expenses imposed on

        state rapid-response teams; (2) a surge in unemployment claims, often requiring

        exhaustive investigations; (3) disruption and damage to state programs depending

        on federal workers; and (4) financial harms from decreased tax revenue and

        increased reliance on state social service programs. (See ECF No. 125, at 9-16.)

                The States accordingly seek a brief administrative stay from the panel pending

        disposition of their petition for rehearing en banc. Such a stay would preserve the

        status quo during the pendency of the States’ petition and thus would appropriately

        prevent the potential whipsaw effect of differing court decisions in a short period of

        time.




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        Respectfully submitted,

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                               CERTIFICATE OF COMPLIANCE

              1.    This document complies with the type-volume limitations of Fed. R.

        App. P. 27(d)(2)(A) because the motion contains 305 words, excluding the parts of

        the document exempted by Fed. R. App. P. 32(f).

              2.    This motion complies with the typeface requirements of Fed. R. App.

        P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because the

        motion has been prepared in a 14-point proportionally spaced typeface, Times New

        Roman, using Microsoft Word.

                                              /s/ Virginia A. Williamson
                                              Virginia A. Williamson
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                                   CERTIFICATE OF SERVICE

              I certify that on this 9th day of April, 2025, the foregoing Emergency Motion

        for Administrative Stay was filed electronically and served on counsel of record who

        are registered CM/ECF users.



                                              /s/ Virginia A. Williamson
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